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          DECLARATION OF MAIKER ALEJANDRO ESPINOZA ESCALONA

I, Maiker Alejandro Espinoza Escalona, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct.

    1. I make this declaration based on my own personal knowledge and if called to testify I
       could and would do so competently and truthfully to these matters.

   2. My name is Maiker Alejandro Espinoza Escalona. I am 25 years old and from Venezuela.
       I came to the United States in May 14, 2024 to seek asylum.

   3. I received a deportation order on July 8, 2024. I have been in immigration detention since
       May 22, 2024. I am currently detained at the El Paso Processing Center in Texas.

   4. I heard that the U.S. government has started transferring Venezuelans with final orders to
       the military base at Guantanamo Bay, Cuba. I also heard the U.S. government is targeting
       people they think are criminals or gang members, even if they have no proof.

   5. I am afraid of being transferred to Guantanamo. I believe that I am at risk of being
       transferred because I have a final order of deportation and am from V enezuela. I also
       believe that I am going to be transferred to Guantanamo because of my tattoos, even
       though they have nothing to do with gangs. I have twenty tattoos. One of the cartoon
       character Yosemite Sam, the cartoon character Marvin the Martian, the phrase "Life is on
       take advantage", half a woman's face with a spider, the cartoon character of a minion, a
       money bag, the song name "Pensando en Ti" which means "Thinking of You", my
       uncle's name, an eagle, my niece's name, a star, the word "Fe" which means "Faith" with
       a heart, my birth year, a handshake, the ghost icon for the application called Snapchat, a
       dagger, the face of a DJ called "Marshmello", the back of a compass with a plane and my
       name abbreviated as "Maik", a cross, and a crown.

   6. I do not want to be transferred to or detained at Guantanamo. I am afraid of what will
       happen to me when I get there. I heard that there is no ability to contact lawyers or family
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       from Guantanamo. I want access to an attorney to help me get out of detention and figure
       out what options I have in my immigration case.

   7. Additionally, I do not want to be transferred to or detained at Guantanamo because I will
       be separated from my partner, Yorely Escarleth Bernal Inciarte, and my two-year-old
       daughter. My partner is also detained at the El Paso Processing Center. Our daughter is
       currently in ORR custody. My partner and I have had weekly, in-person visits with our
       daughter since around October 2024. If I am transferred to Guantanamo, I will be
       separated from my family.

   8. Everything in this declaration is true and correct to the best of my knowledge and
       recollection. This declaration was read back to me in Spanish, a language in which I am
       fluent.




Executed on the 19th of February, 2025 in El Paso, Texas.




Maiker Alejandro Espinoza Escalona
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                              CERTIFICATE OF TRANSLATION

       I, Diana Nevarez Ramirez, certify that I am fluent in both English and Spanish. On

February 19, 2025, I personally spoke with Maiker Alejandro Espinoza Escalona and read
                                                                                            the
foregoing declaration to him, translated into Spanish faithfully and accurately. Mr. Espinoz
                                                                                               a
Escalona affirmed that he understood my translation and that the information in the above

declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.




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